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RER 01400-69044
                  IN THE UNITED STATES DISTRICT COURT OF TENNESSEE
                      FOR THE WESTERN DISTRICT, WESTERN DIVISION


JENNIFER DUNN,              )
                            )
     Plaintiff,             )
                            )
VS.                         )                    Docket No.: 2:10-cv-02745-BBD-cgc
                            )
ALLSTATE INSURANCE COMPANY, )
                            )
     Defendant.             )



                     DEFENDANT ALLSTATE INSURANCE COMPANY’S
                          MOTION FOR SUMMARY JUDGMENT


        Comes now the Defendant Allstate Insurance Company (“Allstate”), by and through

counsel, and pursuant to Rule 56 of the Federal Rules of Civil Procedure moves this Court

for an Order Granting its Motion for Summary Judgment. In support of this Motion, Allstate

states that the undisputed facts in this case establish the following: (1) Plaintiff did not

cooperate with the insurance policy’s post-loss procedures and Allstate’s interests were

prejudiced by this noncooperation; therefore, Plaintiff’s noncooperation bars her from

recovering under the policy; (2) Plaintiff failed to comply with Tennessee’s statutory bad

faith requirements because she never made a formal demand for payment to Allstate

and did not give Allstate an opportunity to reflect on the consequences of not paying the

policy before filing suit; (3) judicial estoppel limits Plaintiff’s recovery of personal

property, if any, to $3,618.00 because this is the amount Plaintiff claimed in her prior

bankruptcy petition two months before the fire damaged her home. Allstate also relies

upon the entire record in this matter, including, but not limited to, the pleadings, the
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Examination Under Oath of Jennifer Dunn, its Statement of Undisputed Material Facts, the

Affidavit of Fernando Morales, and its Memorandum of Law filed contemporaneously

herewith.



                                  Respectfully submitted,

                                  RAINEY, KIZER, REVIERE & BELL, P.L.C.

                                  By:    ___s/ Russell E. Reviere_______________
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                                         A. Blake Neill (BPR #29323)
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                                         (731) 423-2414



                              CERTIFICATE OF SERVICE

      The undersigned certifies that a true copy of this pleading or document was
served via the Court’s ECF filing system upon:

        Ronald T. Riggs
        3201-100 North Main Building
        Memphis, TN 38103


        This the 10th day of August, 2011.

                                                 s/ Russell E. Reviere




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